     Case 3:17-cv-00121-MMD-CSD Document 76 Filed 02/11/19 Page 1 of 1


1

2

3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6    JOHN MILLER,                                        Case No. 3:17-cv-00121-MMD-WGC

7                                     Plaintiff,                       ORDER
           v.
8
     UNITED STATES OF AMERICA,
9
                                   Defendant.
10

11          Plaintiff John Miller filed a motion for reconsideration (ECF No. 66) of this Court’s

12   order (ECF No. 64) granting Defendant the United States of America’s motion to dismiss

13   and dismissing his case for lack of jurisdiction. Plaintiff then appealed that same order.

14   (ECF No. 69.)

15          The general rule is that an appeal divests the district court of jurisdiction over those

16   aspects of the case involved in the appeal. See Hovey v. McDonald, 109 U.S. 150, 157

17   (1883); see also Stein v. Wood, 127 F.3d 1187, 1189 (9th Cir. 1997); MacCaulay v. U.S.

18   Foodservice, Inc., 152 F. Supp. 2d 1229, 1230 (D. Nev. 2001). While there are exceptions

19   to this general rule, the Court finds that none of those exceptions apply here. Seeing no

20   reason to deviate from the general rule, the Court will thus deny Plaintiff’s motion for

21   reconsideration as the Court lacks jurisdiction over it.

22          It is therefore ordered that Plaintiff’s motion for reconsideration (ECF No. 66) is

23   denied.

24

25          DATED THIS 11th day of February 2019.

26

27
                                                         MIRANDA M. DU
28                                                       UNITED STATES DISTRICT JUDGE
